Case 6:11-cv-00421-TBD-JDL Document 330 Filed 03/14/14 Page 1 of 3 PagelD #: 6330

VERDICT FORM

Based on the evidence admitted at trial and in accordance with the instructions given by

the Court, we, the jury, unanimously agree to the answers to the following questions:
Question No. 1: Infringement of Device Claims by Chips

Has plaintiff Stragent, LLC, proven by a preponderance of the evidence that defendant
Intel Corporation has infringed the following claims by making, using, offering for sale, or
selling the accused chips? Answer “Yes” or “No” for each asserted claim. “Yes” is a finding in

favor of Stragent that the claim has been infringed. “No” is a finding in favor of Intel that the

claim has not been infringed.

a. Claim 12 of the ’072 patent al )
b. Claim 16 of the ’072 patent | QO

Question No. 2: Infringement of Device Claims by Wafers

Has plaintiff Stragent, LLC, proven by a preponderance of the evidence that defendant
Intel Corporation has infringed the following claims by making the accused semiconductor
wafers in the United States? Answer ““Yes” or “No” for each asserted claim. “Yes” is a finding in

favor of Stragent that the claim has been infringed. “No” is a finding in favor of Intel that the

claim has not been infringed.

a. Claim 12 of the ’072 patent a ©

b. Claim 16 of the ’072 patent 1)
Case 6:11-cv-00421-TBD-JDL Document 330 Filed 03/14/14 Page 2 of 3 PagelD #: 6331

Question No. 3: Validity

Has defendant Intel Corporation proven by clear and convincing evidence that the
following claims are invalid? Answer “‘Yes” or “No” for each claim. “Yes” is a finding in favor

of Intel that the claim is invalid. “No” is a finding in favor of Stragent that the claim has not been

proven invalid.

a. Claim 12 of the ’072 patent Y | SS
b. Claim 16 of the ’072 patent y ( S

If you have found any claim(s) to be infringed and not invalid, go on to Question No. 4.
Otherwise, do not answer Question No. 4—simply have the Foreperson sign the verdict

form and notify the Court Security Officer that you have reached a verdict.
Case 6:11-cv-00421-TBD-JDL Document 330 Filed 03/14/14 Page 3 of 3 PagelD #: 6332

Question No. 4: Damages

What is the amount of reasonable royalty, if any, that you find Plaintiff Stragent, LLC,
has proven by a preponderance of the evidence would fairly compensate it for any infringement
you have found? You must answer separately for any infringement you found in Question No. |

(by Intel’s chips) and any infringement you found in Question No. 2 (Intel’s wafers).

Intel’s chips $
Intel’s wafers $
Total $

Your work is now finished. Have the Foreperson sign and date the verdict form and notify

the Court Security Officer that you have reached a verdict.

FOR THE JURY:

By: Date: ae |+ - 200 2014

Foreperson
